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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No.            2:13-cr-340-GMN-VCF
                                                                   )
                       Brett McSpadden,                            )
                             Defendant                             )

                                                  CONTINUED DETENTION HEARING



          A continued detention hearing at the request of the Government in this case is scheduled as follows:

          Lloyd D. George Federal Courthouse
Place:                                                                    Courtroom No.:      3C
          333 Las Vegas Boulevard South
          Las Vegas, Nevada 89101                                                             Wednesday, October 2, 2013,
          Before the Honorable Magistrate Judge Carl W. Hoffman Date and Time:                at 3:00 p.m.

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         Sep 30, 2013
                                                                                             Judge’s signature

                                                                                         PEGGY A. LEEN
                                                                                UNITED STATES MAGISTRATE JUDGE
                                                                                           Printed name and title
